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                IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYVANIA


IN RE: SHOP-VAC MARKETING                      MDL No. 2380
AND SALES PRACTICES
LITIGATION                                     Civil Action No. 4:12-md-02380


THIS DOCUMENT RELATES TO:                      (Judge Yvette Kane)
All Cases


  OPPOSITION TO MOTION TO COMPEL OBJECTORAPPELLANT
  SHIRLEY MORALES TO POST AN APPEAL BOND, PURSUANT TO
                     FED. R. APP. P. 7


      Class Member/Appellant, Shirley Morales, (“Objector”) opposes the

Plaintiffs’ Motion for Appeal Bond and states in support:

     I. Objector cannot be required to post a bond for administrative
expenses associated with a class settlement while an appeal is pending because
these expenses are not taxable under a specific statute or rule.

      The purpose of an appeal bond is “to ensure payment of costs on appeal.”

Fed. R. App. R. 7. Here, class counsel requests a bond of $32,000 to cover two sets

of alleged costs: the administrative costs associated with settlement while the

appeal is pending and direct appeal costs. No rule or statute provides that Objector

can be liable for the former, and class counsel has provided no detail as to how

they reach the $25,000 for “Rule 39 costs.” Thus, an appeal bond in this case is not

appropriate.
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           “[A]n appeal bond may include the costs of preparation of and transmission

of the record, the costs of obtaining any necessary transcripts, printing costs and

other copying costs, premiums or costs for supersedeas bonds or other bonds to

secure rights pending appeal, and fees for filing the notice of appeal.” In re

Nutella Mktg. and Sales Practices Litig., 589 Fed. Appx. 53, 60–61 (3d Cir.

2014)(unpublished). Under F.R. App. R. 7, an appeal bond is designed “to ensure

the payment of costs on appeal.” “[T]hese costs rarely exceed a few hundred

dollars when taxed against an appellant. The district court may not include in an

appeal bond any expenses beyond those referenced in Fed. R.App. P. 39 unless

such expenses may be shifted pursuant to another statute.” In re Magsafe Apple

Power Adapter Litig., 571 Fed. Appx. 560, 563 (9th Cir. 2014). Class counsel’s

claim that their Rule 39 expenses are $25,000 is a fictional claim not based on

reality.

       Objector invites the Court to consider the fact that most sister courts have

defined such costs to include only those costs expressly authorized by rule or

statute. Tennille v. Western Union Co., 774 F.3d 1249, 1255 (10th Cir. 2014)

(citing D.C., First, Second, Third, Ninth, and Eleventh Circuits). Indeed, the Tenth

Circuit recently addressed the same issue presented here and held that class action

administration costs were not “costs on appeal” for a Rule 7 bond because such

costs were not authorized by statute. Id.
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      The Tenth Circuit’s approach to defining “costs” on appeal is consistent with

the Supreme Court’s repeated admonition that the term “costs” is not an open-

ended invitation for courts to impose whatever expenses they deem fair, but rather

a term of art whose content is bounded by the items specified in statutes or rules.

See Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 297 (2006)

(holding that, in the Individuals with Disabilities Education Act, “[t]he use of this

term of art [i.e., ‘costs’], rather than a term such as ‘expenses,’ strongly suggests

that [the statute’s cost-shifting provision] was not meant to be an open-ended

provision that makes participating States liable for all expenses incurred by

prevailing [plaintiffs]”); Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437,

441-42 (1987) (holding that “costs” as defined in Federal Rule of Civil Procedure

54 are limited to those specified by statute).

      Class counsel’s failure to identify a rule or statute that would render

Objector responsible for settlement administration costs is dispositive of the

question whether a bond maybe required for these costs. “Because Plaintiffs have

not identified any rule or statute that allows them to recover, as costs on appeal,

funds spent either notifying class members of Objectors' merits appeals or

maintaining the settlement pending those appeals, the district court erred in

imposing a Rule 7 appeal bond that included those costs.” Tennille v. W. Union

Co., 774 F.3d 1249, 1256 (10th Cir. 2014).
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      In sum, almost the entire amount of the bond class counsel requests consists

of settlement-administration or delay expenses that are not defined by statute or

rule as costs and are therefore not permissible components of an appeal bond.

Accordingly, because class counsel has not identified any costs, other than general

“appeal costs” that would be taxable against Objector if she does not prevail on

appeal, counsel has offered no basis for imposition of a bond of $32,000.

II.  Recent Third Circuit and district opinions do not indicate that an
award of the appeal bond costs are merited under the facts of this case.

      The Third Circuit has not published an opinion on whether including

administrative expenses for a bond is appropriate in a class action appeal. In the

unpublished opinion, In Hirschensohn v. Lawyers Title Ins. Corp., the Court of

Appeals held that “Rule 7 does not authorize a bond to cover estimated costs of

attorneys' fees” and limited the appeal bond to costs under Rule 39. Hirschensohn

v. Lawyers Title Ins. Corp., 96-7312, 1997 WL 307777 (3d Cir. June 10, 1997). In

a more recent unpublished opinion, In re Nutella Mktg. and Sales Practices Litig.,

589 Fed. Appx. 53, 60 (3d Cir. 2014)(unpublished), the Court allowed half of the

requested administrative expenses after considering (1) the objectors did not

respond in a meaningful way to the plaintiffs' contentions that their appeals were

meritless; and (2) the objectors, who were a geographically diverse group, did not

provide any representations that they were able to pay the costs of an appeal. In re

Nutella Mktg. and Sales Practices Litig., 589 Fed. Appx. 53, 61 (3d Cir.
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2014)(unpublished).

      The 2016 courts in Schwartz v. Avis Rent a Car System, LLC, CV 11-4052

(JLL), 2016 WL 4149975, at *3 (D.N.J. Aug. 3, 2016) and Rougvie v. Ascena

Retail Group, Inc., CV 15-724, 2016 WL 6069968, at *5–7 (E.D. Pa. Oct. 14,

2016) both have attempted to harmonize these contradictory holdings and both

concluded that administrative expenses are not appropriate.

      In Schwartz, the court said the following:

      The Panel in Hirschensohn held that “attorneys' fees are distinct from
      the ‘costs' defined by Rule 39,” and therefore, were excluded from a
      Rule 7 bond. Id. at *2-3. The Circuit Court discussed a Supreme Court
      decision, Roadway Express, Inc. v. Piper, where the High Court
      “observed that when Congress enacted section 1920 [which is the
      source of the “costs” outlined in Federal Rule of Appellate Procedure
      39], the prevailing ‘American Rule’ was that ‘attorney's fees [were]
      not among the costs that a winning party [could] recover.’ ” Ibid.
      (citing Piper, 447 U.S. at 759). After discussing the Piper decision,
      the Third Circuit held that “Rule 7 does not grant authority to receive
      a bond for attorneys' fees in this case.” Hirschensohn, 1997 WL
      307777, at *3. Thus, in Rossi, “this Court applie [d] reasoning
      consistent with that set forth in Hirshensohn” and “denie[d] inclusion
      of any administrative costs that are not specifically enumerated in
      Rule 39.” Id. at *2.

      In November of 2012, another District Court in the District of New
      Jersey permitted, by way of letter order, the inclusion of
      administrative costs in an appeal bond. In re Nutella Mktg & Sales
      Practices, Civ. No. 11-1086, 2012 WL 6013276 (D.N.J. Nov. 20,
      2012) (Wolfson, J.), aff'd 589 Fed.Appx. 553 (3d Cir. Sept. 11, 2014).
      Notably, the District Judge in that case recognized that the objectors'
      briefs were largely deficient, particularly with respect to their
      argument that administrative costs were not appropriate for a Rule 7
      bond. Id. at *2. On appeal, the Third Circuit affirmed the district
      court's ruling on administrative costs, stating only: “The District Court
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      determined, over the ... Appellant's objection, that administrative costs
      could be secured by a Rule 7 bond. We do not find that determination
      to be in error.” In re Nutella Mktg. & Sales Practices Litig., 589
      Fed.Appx. 53, 61 (3d Cir. 2014). Based on this language from an
      unpublished Third Circuit case, Plaintiffs argue that the Third Circuit
      permits a district court to include the administrative costs in setting
      the amount of an appeals bond.3 (Pis.' Mov. Br. at 10).

      Thus, this Court is faced with two contradictory, unpublished Third
      Circuit cases. In Hirschensohn, an often-cited opinion, the Third
      Circuit conducted a thorough analysis of Federal Rules of Appellate
      Procedure 7 and 39 before concluding that attorneys' fees were not
      included in a Rule 7 bond. 1997 WL 307777. By contrast, in Nutella,
      the Third Circuit reviewed the District Court's award of an appeal
      bond under an abuse of discretion standard and neither cited to nor
      overruled Hirschensohn before stating that it “do [es] not find that
      determination [as to administrative costs] to be in error.” 589
      Fed.Appx. at 61. Because this Court finds that the earlier unpublished
      case more pointedly addresses the issue of costs appropriately
      included under Rules 7 and 39, it will continue to rely on the
      Hirschensohn rationale in finding that administrative costs are not
      included in a Rule 7 bond.


Schwartz v. Avis Rent a Car System, LLC, CV 11-4052 (JLL), 2016 WL 4149975,

at *3 (D.N.J. Aug. 3, 2016).

      In Rougvie, the court said the following:

      Appellants argue we should ignore In re Nutella, or limit the holding
      to its facts. They argue Hirschensohn is the governing rule in our
      Circuit and it limited “costs” calculated in a Rule 7 appeal bond to
      only costs specifically mentioned in Rule 39. Viewed this way, In re
      Nutella directly contradicts Hirschensohn.

      Appellants misconstrue the breadth of the Hirschensohn decision. Our
      Court of Appeals did not provide an exhaustive definition of a Rule 7
      cost; it addressed whether attorneys' fees could be included as a cost
      under Rule 7. The ruling “we conclude that Rule 7 does not authorize
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      a bond to cover estimated costs of attorneys' fees” is equally narrow.
      Attorneys' fees and administrative expenses of a settlement fund are
      different. Because the appeal bond in In re Nutella did not include
      attorneys' fees, Hirschensohn is not directly contrary. In In re Nutella,
      our Court of Appeals held it is within our discretion to include
      administrative expenses in an appeal bond.

      …

      In the facts presented to us, we do not include administrative costs in
      the bond. We approved a large class action settlement similar to In re
      Nutella. We are aware of the diminishing value by delay; however, an
      individual appeal bond for each Appellant will also deter meritless
      appeals. We deny the Class' request for administrative costs because
      Appellants meaningfully responded to its request. In In re Nutella, the
      Appellants did not meaningfully respond to the request for an appeal
      bond. Here, Appellants filed four briefs responding in a meaningful
      way to the Class' request and defending the merits of their appeals.
      The Class moved for expedited briefing in our Court of Appeals
      hoping to shorten the appeals period.

      We also deny the Class' request for administrative costs because we
      have no evidence the delay caused by an appeal does not create
      additional administrative expenses beyond those necessary to manage
      the Settlement Fund under the settlement agreement.


Rougvie v. Ascena Retail Group, Inc., CV 15-724, 2016 WL 6069968, at *5-6

(E.D. Pa. Oct. 14, 2016).

      Here, although Objector does not have funds to pay the appeal bond (she has

only been able to work part-time on a teaching salary, as she needs to care for her

daughter who is recovering from a traumatic accident), she has, by this response,

responded in a meaningful way to the plaintiffs' contentions that her appeal is

meritless. Class counsel’s motion for an appeal bond should be denied.
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      III. The requested bond is being used for an improper purpose

      Objector believes that based on the magnitude of the requested bond and the

personal attack of Objector, the underlying purpose of this motion may not be

securing costs, but intimidating Objector from exercising her appellate right.

Whereas Objector stands to pocket no money as a result of this appeal, class

counsel does have a financial incentive to discourage an appeal as they will not get

paid until the settlement is final.

      Not only should the bond motion be rejected on the merits for the reasons

explained above (or greatly reduced), but this Court should reject the improper use

of a Rule 7 bond to deter appeals: “Allowing districts court to impose high Rule 7

bonds where the appeals might be found frivolous risks impermissibly

encumbering appellants’ right to appeal[.]” Azizian v. Federated Dept. Stores, 499

F.3d 950, 961 (9th Cir. 2007); (“While, in the federal scheme, appeals found to be

frivolous cannot command judicial respect, those possessing merit are normally a

matter of right. Courts accordingly must be wary of orders, even those well-

meaning, that might impermissibly encumber that right.” (footnotes omitted));

Clark v. Universal Builders, Inc., 501 F.2d 324, 341 (7th Cir. 1974) (“[A]ny

attempt by a court at preventing an appeal is unwarranted and cannot be
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tolerated.”); see also Vaughn v American Honda Motor, 507 F.3d 295, 300 (5th Cir.

2007) (cautioning that “imposing too great a burden on an objector’s right to

appeal may discourage meritorious appeals or tend to insulate a district court’s

judgment in approving a class settlement from appellate review” (footnote

omitted)).

      Class counsel seems to have taken the stance that every objector and

objector’s attorney must have a bad faith motive. Their thinly veiled contempt for

objectors should make their motive for the appeal bond apparent. Class counsel

claims that their concern is for the class, but the truth is their concern is for

themselves. They will not get paid their attorney’s fees until the settlement is final.

And they will stop at nothing to get their attorney’s fees, even if their actions have

the effect of bullying a class member to drop her appeal. These actions should not

be tolerated.

      The availability of an appeal is particularly important for class action

objectors, who play a crucial role in the settlement process by speaking for absent

class members and ensuring adversarial presentation of issues. “Objectors provide

a critically valuable service of providing knowledge from a different point of view

[from that of the settling parties.]” Lane v. Facebook, Inc., 696 F.3d 811, 830 (9th

Cir. 2012) (Kleinfield, J., dissenting); see also Reynolds v. Beneficial Nat’l Bank,

288 F.3d 277, 288 (7th Cir. 2002) (Posner, J.) (“It is desirable to have as broad a
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range of participants in the fairness hearing as possible because of the risk of

collusion over attorneys’ fees and the terms of settlement generally.”). Because it

is more important that Objector have her opportunity to pursue her potentially

meritorious appeal than deny her the opportunity over the supposed risk that her

appeal is frivolous, the appeal bond motion should be denied.

      IV. Objector is not a serial objector and could prevail on appeal

      Objector would like to set the record straight by stating that Objector is not a

serial objector and has raised several issues that an appellate court could find

persuasive.   For example, Objector has argued that the requested attorney’s fees

are not fair to the class, the injunctive relief is worthless, and the warranty relief

provides little value to the class. It was these very reasons that the Sixth Court of

Appeals rejected the settlement in In re Dry Max Pampers Litig., 724 F.3d 713,

718 (6th Cir. 2013).

      [I]n evaluating the fairness of a settlement,” therefore, we look in part
      “to whether the settlement gives preferential treatment to the named
      plaintiffs while only perfunctory relief to unnamed class members.”
      Vassalle v. Midland Funding LLC, 708 F.3d 747, 755 (6th Cir.2013)
      (internal quotation marks omitted). “[S]uch inequities in treatment
      make a settlement unfair.” Id. The same is true of a settlement that
      gives preferential treatment to class counsel; for class counsel are no
      more entitled to disregard their “fiduciary responsibilities” than class
      representatives are. Gen. Motors Pick–Up Litig., 55 F.3d at 788. Most
      class counsel are honorable; but “settlement classes create especially
      lucrative opportunities for putative class attorneys to generate fees for
      themselves without any effective monitoring by class members who
      have not yet been apprised of the pendency of the action.” Id. “[T]he
      danger being that the lawyers might urge a class settlement at a low
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      figure or on a less-than-optimal basis in exchange for red-carpet
      treatment on fees.” Weinberger v. Great N. Nekoosa Corp., 925 F.2d
      518, 524 (1st Cir.1991); see also, e.g., Creative Montessori, 662 F.3d
      at 918 (“We and other courts have often remarked the incentive of
      class counsel” to “agree[ ] with the defendant to recommend that the
      judge approve a settlement involving a meager recovery for the class
      but generous compensation for the lawyers”). Thus, if the “fees are
      unreasonably high, the likelihood is that the defendant obtained an
      economically beneficial concession with regard to the merits
      provisions, in the form of lower monetary payments to class members
      or less injunctive relief for the class than could otherwise have [been]
      obtained.” Staton v. Boeing Co., 327 F.3d 938, 964 (9th Cir.2003).
      Hence the “courts must be particularly vigilant” for “subtle signs that
      class counsel have allowed pursuit of their own self-interests and that
      of certain class members to infect the negotiations.” Dennis v. Kellogg
      Co., 697 F.3d 858, 864 (9th Cir.2012) (internal quotation marks
      omitted).

In re Dry Max Pampers Litig., 724 F.3d 713, 718 (6th Cir. 2013)

      Here, Objector will utilize cases like Dry Max Pampers and other similar

cases to argue that class counsel exchanged higher compensation for themselves in

exchange for any compensation for the class.         Objector will argue that the

attorney’s fees are excessive, especially in light of absolutely no compensation for

the class. Objector will argue that the extended warranty and so called injunctive

relief has not substantially benefitted of the class, and thus the settlement should

not have been approved. As many appellate courts have overturned settlements for

the same reasons as Objector is complaining, Objector believes that she has a good

chance that the Third Circuit Court of Appeals will agree with her arguments.
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      Objector has been personally attacked by class counsel for not knowing all

of the details about class actions. However, class counsel has greatly exaggerated

the extent of Objector’s knowledge of the class action settlement.           Objector

understood the basics of the class action and that is all she should be required to

know. She stated in her deposition that she thought that the compensation was not

fair to class members and she knew that the shop-vacs were inappropriately

marketed. See Deposition p 41-43. She was correct in her understanding of the

class action.

      Class counsel, even after she specifically stated that she had attorney

assistance with writing the objection, then grilled her over every aspect of the

objection. Like almost every client, she could not answer specific questions, but

she did know the general answers. No lay person is expected to understand the

legal aspects of a case they are part of. That is why they hire attorneys.

      Additionally, no harm was caused by Objector mailing in her objection

herself and then having her counsel appear. Only five days elapsed during that

time and no pleadings were filed during that time. Class counsel cannot complain

that they would have done anything different. Whether she was represented by

counsel or not during those five days is of little consequence.

                                  CONCLUSION
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      Objector raised valid objections at the fairness hearing and is entitled to

pursue those objections to their logical conclusion, which includes the right to

appeal and to have the appeal heard, without the threat of having to cover supposed

costs that are not covered by rule or statute by lawyers whose agendas are not

necessarily in the best interests of the class members. The use of appeal bonds to

chill the pursuit of legitimate, good-faith appeals is a practice that this Court

should emphatically discourage.

      The motion to impose an appeal bond should be denied. In the event the

Court wishes to grant a bond, it should be limited to actual appeal costs not to

exceed a few hundred dollars.



                                            Respectfully Submitted,


                                            /s/Mardi Harrison Esq
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                              CERTIFICATE OF SERVICE

      The undersigned certifies he electronically filed the foregoing Response via

the ECF system for the District Court of the Middle District of Pennsylvania, thus

effecting service on all attorneys registered for electronic filing.

      Dated:        January 4, 2017      Respectfully Submitted,


                                               /s/Mardi Harrison, Esq.
                                               Attorney for Objector
                                               Shirley Morales
